Case 9:20-cr-00039-DWM Document 87 Filed 10/20/21 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

vs.

JOSEPH VERNON HOLMSTROM,

Defendant.

 

 

CR 20-39-M-DWM

FINDINGS &
RECOMMENDATION
CONCERNING PLEA

The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of transportation of stolen firearms

or ammunition in violation of 18 U.S.C. § 922(i) and § (2) (Count I) and one count

of possession with intent to distribute methamphetamine in violation of 21 U.S.C.

§ 841(a)(1) and 18 U.S.C. § 2 (Count IV), as set forth in the Indictment. In

exchange for Defendant’s plea, the United States has agreed to dismiss Count III of

the Indictment.

After examining the Defendant under oath, I have made the following

determinations:

1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,
Case 9:20-cr-00039-DWM Document 87 Filed 10/20/21 Page 2 of 2

2. That the Defendant is aware of the nature of the charge against him and
consequences of pleading guilty to the charge,

3. That the Defendant fully understands his constitutional rights, and the
extent to which he is waiving those rights by pleading guilty, and

4. That the plea of guilty is a knowing and voluntary plea, supported by an
independent basis in fact sufficient to prove each of the essential elements of the
offense charged.

The Court further concludes that the Defendant had adequate time to review
the Plea Agreement with counsel, that he fully understands each and every
provision of the agreement and that all of the statements in the Plea Agreement are
true. Therefore, I recommend that the Defendant be adjudged guilty of Counts I
and IV of the Indictment, and that sentence be imposed. I further recommend that
Count III and of the Indictment be dismissed.

This report is forwarded with the recommendation that the Court defer
a decision regarding acceptance until the Court has reviewed the Plea
Agreement and the presentence report.

DATED this day of 20" day of October, 2021.

_V, Mbhsordd-Sdy)

Kathleen L. DeSoto
United States Magistrate Judge

2
